






No. 04-02-00171-CR



Craig Dennis JOHNSON,


Appellant



v.



The STATE of Texas,


Appellee



From the 379th Judicial District Court, Bexar County, Texas


Trial Court No. 2000-CR-5074


Honorable James E. Barlow, Judge Presiding



Opinion by:	Catherine Stone, Justice


Sitting:	Catherine Stone, Justice

		Paul W. Green, Justice

		Sandee Bryan Marion, Justice


Delivered and Filed:	January 8, 2003


AFFIRMED

	A jury found Craig Dennis Johnson guilty of sexual assault of a child and sentenced him to
five years imprisonment.  In two issues, Johnson challenges the legal and factual sufficiency of the
evidence.  We affirm Johnson's conviction.



	By his only issues, Johnson complains there is insufficient evidence to support his conviction
because there is no evidence that the victim was not his spouse.  The indictment charged Johnson
with intentionally and knowingly causing the penetration of the female sexual organ of Lakeisha
Jones, a child.  See Tex. Penal Code Ann. § 22.011(a)(2)(A) (Vernon Supp. 2003) (a person
commits the offense of sexual assault if he "intentionally or knowingly causes the penetration of the
anus or female sexual organ of a child by any means").  The Penal Code defines "child" as any
person younger than 17 years of age who is not the spouse of the accused.  Id. § 22.011(c)(1).  The
Penal Code defines spouse as "a person who is legally married to another."  Id. § 22.011(c)(2).  

	Texas recognizes two forms of marriage, ceremonial and common law.  See  Tex. Fam.
Code Ann. §§ 2.001, 2.401 (Vernon 1998).  Because Lakeisha was under eighteen years of age, she
needed parental consent or a court order before she could have entered into a ceremonial marriage
with Johnson.  Id. §§ 2.102, 2.103.  However, no such consent is required for a common law
marriage.  For a common law marriage, all that is required is that the parties "agree to be married
and after the agreement they live together in this state as husband and wife and they represent to
others that they are married."  Id. § 2.401.  

	To reverse Johnson's conviction, the record must contain either legally or factually
insufficient evidence to support the jury's finding that Lakeisha was not Johnson's spouse.  In
reviewing the legal sufficiency of the evidence, we view the evidence in a light most favorable to
the verdict and determine whether any rational trier of fact could have found the  essential elements
of the crime beyond a reasonable doubt.  Jackson v. Virginia, 443 U.S. 307, 319 (1979); Mason v.
State, 905 S.W.2d 570, 574 (Tex. Crim. App. 1995).  By contrast, in reviewing the factual
sufficiency of the evidence, we view all of the evidence in a neutral light and set aside the verdict
only if it is so contrary to the overwhelming weight of the evidence as to be clearly wrong and
unjust.  Johnson v. State, 23 S.W.3d 1, 7 (Tex.  Crim. App. 2000).  During our review of the
sufficiency of the evidence, however, we must be appropriately deferential to the fact finder and
may not substitute our own judgment for that of the jury or substantially intrude on the jury's role
as the sole judge of the weight and credibility of witness testimony.  Id.  

	In the case at bar, several witnesses provided testimony relevant to our review.  Lakeisha
testified that she met Johnson when she, her mother, and three sisters resided with her aunt, Beverly
Robinson.  According to Lakeisha, Johnson was her aunt's boyfriend.  Linda Smith, Lakeisha's
mother, testified she thought of Johnson as a brother-in-law because her sister Beverly and Johnson
were in a serious relationship.  In fact, Johnson and Beverly moved in together when Linda and her
daughters moved out of Beverly's home.  Steven Trujillo, the San Antonio Police Officer who
initially investigated Lakeisha's claims, testified that his investigation led him to believe Johnson
was a family friend of Lakeisha.  Craig Johnson, Jr., Johnson's son, testified Lakeisha wanted to
marry his father.   Lastly, Crasinda Johnson, Johnson's daughter, testified  Lakeisha wanted to marry
her father and have his baby.

	In addition to this testimony, the jury also had before it Lakeisha's medical records following
her assault.  On these records, Lakeisha noted her marital status as single.  Johnson contends that
the aforementioned evidence is insufficient to support a jury finding that Lakeisha was not his
spouse on the night of the assault.  We disagree.  

	While the State could have elicited direct evidence on whether Lakeisha ever secured
parental consent or a court order to marry Johnson, its failure to do so does not preclude a finding
that Johnson and Lakeisha were not ceremonially married.  A jury could find that Lakeisha was not
Johnson's ceremonial spouse based on the medical records which indicate Lakeisha is single and
the trial testimony that Johnson was nothing more than a family friend to Lakeisha.  Similarly, a jury
could find that Lakeisha was not Johnson's common law spouse based on the fact that Johnson and
Lakeisha did not live together as husband and wife, which is an indispensable prerequisite to a
common law marriage.  The record indicates that Lakeisha lived with her mother and three sisters
and not with Johnson. 

	Because a jury could reasonably find that Lakeisha was not Johnson's spouse, either
ceremonially or under common law, we hold that the evidence is legally and factually sufficient to
support the jury's verdict.  See Jackson, 443 U.S. at 319; Johnson, 23 S.W.3d at 7.  Johnson's
challenges to the sufficiency of the evidence are therefore overruled.	


							Catherine Stone, Justice


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